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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY



 United States of America,
                                                    Crim. No. 18-703 (MEF)
       v.
                                                               ORDER
 Michael Healy,

             Defendant.



      The Court reviewed the parties’ proposed jury instructions,
and provided back to the parties slightly revised jury
instructions. Earlier today, the parties each indicated, in
writing, that they have no objections to the Court’s slightly
revised jury instructions. Those slightly revised jury
instructions are now placed on the public docket, and will be
given to the jury by the Court.


IT IS on this 28th day of March, 2024, so ORDERED.



                                              _____________________________
                                              Michael E. Farbiarz, U.S.D.J.




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